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UN|TED STATES D|STR|CT COURT
SOUTHERN D|STR|CT OF FLOR|DA

Case No. 10-60194-CR-COHN
UN|TED STATES OF AMER|CA
P|aintiff,
v.

JoHN vELEz,

DARYL RADzlwoN.
cAsEY MlTTAuER,
JosE_PH DERosA,
RanRT osPRlEsT. and
JosEPH LAGRASTA,

Defendants.

¥EBQ_|§I ` ._ n ' ,' "+¢»'Q,W’@z,
We, the Jury, unanimously find the Defendants:

- |Mll Wl

 

 

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John Ve|ez v \/ . l

Dary| Radziwon

 

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_Casey Mittauer \/
Joseph DeRosa ` \v/
Robert DePriest \v//
Joseph Lagrasta \/

 

 

 

 

 

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M¢.lLEL!.\l.d_C_Q.\I.D.¥§

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3 ` Casey Mittauer . \/,
4 Casey Mittauer \/
5 Joseph DeRosa \/ . ,

6 Robert DePriest 1 \/
7 Dary| Radziwon \/,
10 Joseph Lagrasta \7/
11 Joseph Lagrasta (/
12 John Ve|ez _'/

Mm£l;ay.d_§_¢£n$§
13 ' Casey Mittauer
14 Casey Mittauer \//
15 Robert DePriest \//
16 Robert DePriest \//
17 Dary| Radziwon l \/
21 Joseph DeRosa / .
22 Joseph Lagrasta “//
23 Joseph Lagrasta ‘/
24 John Ve|ez /,
25 John Ve|ez \/

 

 

 

 

 

 

 

 

 

 

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.Qs_\ml mut §yjlt! NP_LQ)IJB!

26 Casey Mittauer 1 \//

27 Casey Mittauer / 2 \/

31 Joseph DeRosa f /

32 Joseph Lagrasta , / \/

33 John velez /

SO SAY WE ALL.

Signed and dated at the U.S. Courthouse in Fort Lauderda|e, F|orida, this 23
day of Apri|, 2011.

 

 

